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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

LEAGUE OF UNITED LATIN                           §
AMERICAN CITIZENS, et al.,                       §
                                                 §
               Plaintiffs,                       §
                                                 §
EDDIE BERNICE JOHNSON, et al.,                   §       EP-21-CV-00259-DCG-JES-JVB
                                                                 [Lead Case]
                                                 §
               Plaintiff-Intervenors,            §
                                                                          &
v.                                               §
                                                 §             All Consolidated Cases
GREG ABBOTT, in his official capacity as         §
Governor of the State of Texas, et al.,          §
                                                 §
               Defendants.                       §

          ORDER DENYING MOTION TO PRESENT LIVE TESTIMONY VIA
                 VIDEOCONFERENCE WITHOUT PREJUDICE

       The Court DENIES “Plaintiff-Intervenors, Alexander Green and Jasmine Crockett’s

Agreed Motion for Leave to Present Live Testimony Via Videoconference at Trial” (ECF No.

1003) WITHOUT PREJUDICE. As the Court will address with the parties at the May 20,

2025 Pretrial Conference, the Court has determined after consulting with its IT staff that

presenting any testimony via videoconference may present technological and logistical

difficulties that the Court had not previously anticipated. The Court will explore potential

alternatives to videoconference testimony with the parties at the conference.




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      So ORDERED and SIGNED this 20th day of May 2025.




                                               ____________________________________
                                               DAVID C. GUADERRAMA
                                               SENIOR U.S. DISTRICT JUDGE

                                       And on behalf of:

Jerry E. Smith                                             Jeffrey V. Brown
United States Circuit Judge                   -and-        United States District Judge
U.S. Court of Appeals, Fifth Circuit                       Southern District of Texas




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